                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )        Case No. 1:15-cr-91
 v.                                             )
                                                )        Judge Travis R. McDonough
 GINGER CARVER                                  )
                                                )        Magistrate Judge Susan K. Lee
                                                )


                                             ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the

 Court: (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the thirty-

 two-count Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3)

 adjudicate Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a

 decision on whether to accept the plea agreement until sentencing; and (5) find Defendant shall

 remain in custody until sentencing in this matter (Doc. 165). Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees with

 the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation (Doc. 165) pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the

                Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;




Case 1:15-cr-00091-TRM-SKL           Document 224       Filed 06/09/16      Page 1 of 2       PageID
                                           #: 684
       (3)   Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of

             the Indictment;

       (4)   A decision on whether to accept the plea agreement is DEFERRED until

             sentencing; and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on July 15, 2016 at 9:00 a.m. [EASTERN] before the

             undersigned.

       SO ORDERED.

       ENTER:

                                         /s/Travis R. McDonough
                                         TRAVIS R. MCDONOUGH
                                         UNITED STATES DISTRICT JUDGE




                                           2


Case 1:15-cr-00091-TRM-SKL      Document 224      Filed 06/09/16    Page 2 of 2     PageID
                                      #: 685
